      Case 1:25-cv-10677-MJJ          Document 34   Filed 04/04/25   Page 1 of 3



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS



STATE OF NEW YORK, et al. ,

       Plaintiffs,
                                                        No. 1:25-cv-10601-MJJ
v.

LINDA McMAHON, in her official
capacity as Secretary of Education,
et al.,
       Defendants.




SOMERVILLE PUBLIC SCHOOLS,
et al. ,

       Plaintiffs,                                      No. 1: 25-cv-10677-MJJ
v.

DONALD J. TRUMP, in his official
capacity as President of the United States,
et al.,
       Defendants.




 DEFENDANTS’ ASSENTED-TO MOTION FOR REVISED BRIEFING SCHEDULE
        AND REQUEST FOR LEAVE TO FILE ADDITIONAL PAGES
           Case 1:25-cv-10677-MJJ        Document 34        Filed 04/04/25       Page 2 of 3




       Pursuant to Local Rule 7.1(b)(4), Defendants in the above-captioned cases respectfully

request leave to file a single, consolidated brief of up to 40 pages responding to both (1) Plaintiffs’

Motion for a Preliminary Injunction in State of New York v. McMahon, No. 1:25-cv-10601-MJJ,

ECF No. 69; and (2) Plaintiffs’ Motion for Preliminary Injunction in Somerville Public Schools v.

Trump, No. 1:25-cv-10677-MJJ, ECF No. 25. Defendants will file the same, 40-page opposition

brief in both cases. Defendants also request that the Court vacate the briefing schedule previously

set by the Court via minute order in State of New York v. McMahon, ECF No. 79, and instead set

the following briefing schedule in both cases:


 Defendants’ Consolidated Opposition
 Brief                               April 11, 2025

 Plaintiffs’ Reply Briefs                     April 18, 2025
                                              April 25, 2025, at 2:00 PM (no change from
 Hearing in Both Cases                        schedule previously set in State of New York v.
                                              McMahon)


       Good cause exists for Defendants’ request. As reflected in both Plaintiffs’ briefs, the

Plaintiffs seek similar relief under similar sets of arguments. It would promote judicial efficiency

for the related arguments to be addressed simultaneously, on the same schedule, in the same set of

briefings. Given the overlength briefs and numerous declarations filed by both sets of Plaintiffs,

Defendants anticipate needing more than the standard 20 pages to present their opposition. Finally,

the proposed briefing schedule maintains the hearing date previously set by this Court in State of

New York v. McMahon.

       Defendants have conferred with counsel for both sets of Plaintiffs; Plaintiffs assent to this

request.
      Case 1:25-cv-10677-MJJ   Document 34     Filed 04/04/25    Page 3 of 3




DATED: April 4, 2025               Respectfully submitted,

                                   YAAKOV M. ROTH
                                   Acting Assistant Attorney General


                                   /s/ Brad P. Rosenberg
                                   BRAD P. ROSENBERG
                                   (D.C. Bar No. 467513)
                                   Special Counsel
                                   United States Department of Justice
                                   Civil Division, Federal Programs Branch
                                   1100 L Street, N.W.
                                   Washington, DC 20005
                                   Tel: 202-514-3374
                                   Email: brad.rosenberg@usdoj.gov

                                   Counsel for Defendants
